                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                      January 10, 2024

BY ECF
The Honorable Victor Marrero
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Nikhil Gupta, S1 23 Cr. 289 (VM)

Dear Judge Marrero:

        The Government respectfully submits this letter in opposition to defendant Nikhil Gupta’s
motion to compel discovery during the pendency of his extradition proceedings in the Czech
Republic. (“Mot.,” Dkt. 11). Consistent with Federal Rule of Criminal Procedure 16.1, the
Government is prepared to produce discovery promptly upon the defendant’s appearance in this
District and arraignment on this case. Before then, however, the defendant is not entitled to
discovery, and he identifies no good reason for the Court to order it.

I.     Background

         On or about June 13, 2023, a grand jury in this District returned Indictment 23 Cr. 289 (the
“Indictment”), charging the defendant with conspiracy to commit murder-for-hire, in violation of
18 U.S.C. § 1958, and substantive murder-for-hire, in violation of 18 U.S.C. §§ 1958 and 2. (Dkt.
3). On or about November 28, 2023, the grand jury returned the 15-page Superseding Indictment
S1 23 Cr. 289 (the “Superseding Indictment”) (Dkt. 9), which contains the same charges but adds
additional factual details concerning the murder-for-hire plot and the defendant’s actions in
furtherance of that plot. As described in the Superseding Indictment, the defendant attempted to
assassinate a political activist in New York City by contracting a hitman, who was in fact a U.S.
law enforcement undercover officer (the “UC”). (Superseding Indictment ¶¶ 1, 4). To facilitate
the murder, the defendant arranged for an associate to make an initial $15,000 payment in cash to
the UC in Manhattan, New York. (Superseding Indictment ¶ 4). Over the course of several weeks,
the defendant regularly discussed the plot with the UC and with a U.S. law enforcement
confidential source, whom the defendant believed to be a criminal associate, including on video
calls in which the defendant personally appeared. (Superseding Indictment ¶¶ 12, 20, 24).

        On or about June 30, 2023, at the request of the United States, the defendant was arrested
in the Czech Republic on the charges in the Indictment. The Government thereafter requested the
defendant’s extradition from the Czech Republic to the United States. The defendant is
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represented in the Czech extradition proceedings, which are ongoing, by counsel in the Czech
Republic.

        On two occasions while in Czech custody, the defendant met with U.S. law enforcement
personnel. First, immediately after his arrest in the Czech Republic on or about June 30, 2023, the
defendant was advised by U.S. law enforcement agents of his rights to silence and to counsel,
waived those rights verbally, and spoke with U.S. law enforcement agents. Second, on or about
October 5, 2023, the defendant and his attorney in the Czech Republic appeared for a potential
interview with Czech and U.S. authorities, which was arranged in coordination with Czech
authorities in accordance with Czech law. After being advised of his rights under Czech and U.S.
law, the defendant declined to participate in the interview and the interview was terminated.

        On or about November 30, 2023, counsel for the defendant entered a notice of appearance
in the above-captioned case. (Dkt. 10).

II.    Discussion

        The defendant now moves to compel discovery, arguing that he purportedly “is being
subject to repeated interrogations by U.S. officials without the presence of the counsel representing
him in his criminal case” and “[t]he defense counsel present in Prague has no evidence or other
case materials, other than the bare indictment.” (Mot. ¶ 8). Because the defendant is not entitled
to Rule 16 discovery until he is arraigned in this District, and discovery in the above-captioned
case in furtherance of his foreign extradition proceedings is neither authorized nor warranted, his
motion to compel discovery should be denied.

         Although “[t]here is no general constitutional right to discovery in a criminal case,”
Weatherford v. Bursey, 429 U.S. 545, 559 (1977), Rule 16 requires the Government to provide
certain discovery “[u]pon a defendant’s request.” Fed. R. Crim. P. 16(a)(1). To obtain this
discovery, Rule 16.1 provides for a specific sequence of events. First, “[n]o later than 14 days
after the arraignment, the attorney for the government and the defendant’s attorney must confer
and try to agree on a timetable and procedures for pretrial disclosure under Rule 16.” Fed. R.
Crim. P. 16.1(a). Second, “[a]fter the discovery conference, one or both parties may ask the court
to determine or modify the time, place, manner, or other aspects of disclosure to facilitate
preparation for trial.” Fed. R. Crim. P. 16.1(b). A defendant’s right to Rule 16 discovery therefore
is not triggered until he is arraigned, after which point a discovery conference must be timely held
and enforcing orders may ensue.

        Because the defendant has not yet been arraigned in this District — indeed, the proceedings
for his extradition to the United States remain pending in the Czech Republic — he has no right to
Rule 16 discovery at this time. The defendant does not suggest otherwise, arguing only that the
Court has “discretion” to “entertain pretrial motions on behalf of out-of-country defendants when
made by an attorney of record.” (Mot. ¶ 7). But the cases he cites do not support his request for
a pre-extradition, pre-arraignment order to compel discovery.

        For example, in United States v. Weinstein, 511 F.2d 622, 627 (2d Cir. 1975), the Second
Circuit reversed the district court’s order to produce discovery to fugitive defendants because,
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among other reasons, Rule 16 “authorizes discovery of documentary evidence only upon the
defendant’s motion” and no fugitive defendant in the case had authorized moving counsel to act
as his counsel, much less to file a motion for discovery on any fugitive defendant’s behalf. On
remand, one of the fugitive defendants retained moving counsel, and successfully moved to
dismiss the indictment on the ground that the fugitive defendant had been denied a speedy trial.
United States v. Salzmann, 548 F.2d 395, 399 (2d Cir. 1976). The Second Circuit affirmed the
dismissal of the indictment solely on the ground that the Government had failed to act with “due
diligence under the speedy trial rules.” Id. Salzmann and Weinstein thus stand for the proposition
that a district court may entertain certain pretrial motions, such as a motion to dismiss, filed by an
authorized attorney on behalf of a defendant who is not in U.S. custody. Neither Salzmann nor
Weinstein stand for the proposition that a district court can or should order that Rule 16 discovery
be produced to such a defendant.

        Even if this Court had discretion to compel the production of discovery to a defendant who
has not yet appeared in this District and has not been arraigned on the charges in the operative
indictment, the defendant has identified no good reason for such an order here. Cf. SEC v. Ahmed,
72 F.4th 379, 394 n.5 (2d Cir. 2023) (affirming discovery limitations in civil case because
affording the defendant “full access to discovery could further discourage his voluntary return to
the United States and grant him an unfair advantage in those [parallel criminal] proceedings to the
extent they are based on the same or related underlying conduct”). Contrary to the defendant’s
assertion, he has not been “subject to repeated interrogations by U.S. officials without the presence
of the counsel representing him in his criminal case.” (Mot. ¶ 8). In fact, he has met only twice
with U.S. law enforcement authorities, the second time in the presence of counsel, and on both
occasions, he was advised of his rights. In the first meeting, immediately after his arrest, the
defendant waived his rights verbally and spoke with law enforcement agents. The second meeting
occurred in the presence of his counsel in the Czech Republic, and when he declined to be
interviewed, the meeting concluded. The defendant has cited no authority for the proposition that
those interactions entitle him to pre-extradition, pre-arraignment discovery in this case.

        Nor should the Court order discovery on the ground that the defendant’s attorney in the
Czech Republic purportedly “has no evidence or other case materials, other than the bare
indictment.” (Mot. ¶ 8). Czech extradition proceedings are governed by Czech law, and the
defendant identifies no legal basis for this Court to compel discovery in this case, to a defendant
who has neither appeared before the Court nor been arraigned, for the purpose of extradition
proceedings in the Czech Republic. It is instructive that a defendant in U.S. extradition
proceedings before a U.S. court would not be entitled to Rule 16 discovery, and thus, even if the
defendant were a party in U.S. extradition proceedings, when his claim to U.S. discovery rules and
judicial relief might arguably be strongest, he would not be entitled to the discovery he now seeks.
Melia v. United States, 667 F.2d 300, 302 (2d Cir. 1981) (“An extradition hearing is not the
occasion for an adjudication of guilt or innocence. . . . The Federal Rules of Criminal Procedure
are expressly inapplicable to [U.S.] extradition proceedings.”); Fed. R. Crim. P. 1(a)(5)(A)
(“Proceedings not governed by these rules include . . . the extradition and rendition of a fugitive.”);
see also Messina v. United States, 728 F.2d 77, 80 (2d Cir. 1984) (finding “no merit in appellants’
contention that the extradition proceedings were defective in some manner because the district
court did not grant appellants’ motion for discovery of the tapes”). As the Second Circuit has said,
“extradition proceedings are not to be converted into a dress rehearsal trial.” Jhirad v. Ferrandina,
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536 F.2d 478, 484 (2d Cir. 1976). Applying the same principles here, the Court should not permit
the defendant to obtain Rule 16 discovery in this case for purposes of a foreign extradition
proceeding.

III.   Conclusion

       The defendant has identified no legal entitlement or justification for discovery at this time.
The Government stands ready to provide discovery to him, like any other criminal defendant,
promptly upon his appearance and arraignment in this District. His motion to compel discovery
should be denied.


                                                        Respectfully submitted,

                                                        DAMIAN WILLIAMS
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cc:    Jeffrey Chabrowe, Esq. (by ECF)
